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      In The United States Court of Federal Claims
                                            No. 09-75L

                                     (Filed: February 20, 2009)
                                            __________
 KLAMATH TRIBE CLAIMS COMMITTEE,

                        Plaintiff,

        v.

 THE UNITED STATES,

                        Defendant.
                                            _________

                                            ORDER
                                           __________

       On February 19, 2009, defendant filed an unopposed motion for enlargement of time,
requesting an additional 30 days within which to file its response to plaintiff’s complaint. The
motion is hereby GRANTED. Accordingly, on or before May 7, 2009, defendant shall file its
response.

       IT IS SO ORDERED.



                                                             s/ Francis M. Allegra
                                                             Francis M. Allegra
                                                             Judge
